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                     IN THE UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF TENNESSEE, WESTERN DIVISION

 JOHN DOE,                                         )
                                                   )
          Plaintiff,                               )
                                                   )
 v.                                                ) Civil Action No.: 2:19-CV-02336-JTF-tmp
                                                   )
 RHODES COLLEGE,                                   )
                                                   )
          Defendant.                               )

                       DEFENDANT’S NOTICE OF INTENT TO REDACT

         Defendant Rhodes College (“Rhodes”) hereby gives notice of its intent to request redaction

of the transcripts of proceedings held before this Court on July 17, 2019 and July 18, 2019 in this

matter. In addition to and in furtherance of its notice, Rhodes states the following:

         Filings in this case are subject to a confidentiality protective order entered on July 8, 2019

(ECF No. 54) (the “Protective Order”). The Protective Order mandates that filings containing

identifying information or sensitive information related to alleged sexual misconduct, including

personally-identifying information as defined under FERPA at 34 C.F.R. § 99.3, are to be filed under

seal. Id. at ¶ 3.

         On July 31, 2019, Court Reporter Lisa Mayo filed a Notice of Filing of Official Transcript of

Proceedings held on July 17, 2019 (ECF No. 83) and a Notice of Filing of Official Transcript of

Proceedings held on July 18, 2019 (ECF No. 84) (together, the “Transcripts”). The Transcripts contain

information subject to the Court’s Protective Order and therefore must be placed under seal.

         Further, on August 5, 2019, the Court entered an Order placing both Transcripts under seal

(ECF No. 87).

         WHEREFORE, Rhodes states that the Transcripts are subject to this Court’s Protective Order

and August 5 Order placing them under seal. Subject to those Orders, and out of an abundance of

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caution, Rhodes hereby gives notice of its intent to request the redaction of both Transcripts to the

extent they are not sealed.

        Dated August 7, 2019.                 Respectfully submitted,

                                      By:     /s/ Woods Drinkwater
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                                              Counsel for Rhodes College

                                 CERTIFICATE OF SERVICE

        I hereby certify that I have this day filed the foregoing with the Clerk using the CM/ECF
filing system which will send electronic notification of such filing to all counsel of record.

 Bryce Ashby                                    Brice Timmons
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        Dated August 7, 2019.                 /s/ Woods Drinkwater
                                              Woods Drinkwater




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